          Case 2:11-cv-01362-JCC Document 28 Filed 11/15/11 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WASHINGTON

DAVID STEBBINS                                                               PLAINTIFF

VS.                                    CASE NO. 11-1362

MICROSOFT CORPORATION                                                        DEFENDANTS

                  REPLY SUGGESTION TO MOTION FOR SANCTIONS

       Comes now, pro se Plaintiff David Stebbins, who respectfully submits the following reply

suggestion to [18] Motion for Sanctions, and [22] Motion for Sanctions or in the Alternative for

Clarification.

                      Second Motion for Sanctions is Admitted by Default.

       Defendant has offered only one thing in its respond (Dkt. 26) that even remotely

resembles a response to the motions for sanctions, and that is... establishing what Defendant

believes is a difference between my unilateral amendment to the Xbox Live Terms of Use, and

Defendant's unilateral amendment to the Xbox Live Terms of Use.

       Defendant has commented on nothing regarding the argument raised in my second

motion for sanctions. Namely, Defendant has not commented on my argument that it is a

frivolous argument to mention that I am a vexatious litigant, simply because of the quantity of

lawsuits that I have filed, rather than each case's individual quality.

       Because Defendant has not responded to the substance of this issue, it is admitted by

default, under CR 7(b)(2), (“If a party fails to file papers in opposition to a motion, such failure

may be considered by the court as an admission that the motion has merit”).

       I might think that Defendant might oppose the motion at a later time, but Defendant

clearly stated that it was making a blanket response.

       Therefore, the Second Motion for Sanctions should be granted, simply for Defendant's
          Case 2:11-cv-01362-JCC Document 28 Filed 11/15/11 Page 2 of 5




failure to oppose it.

        Defendant, however, has opposed my motion for sanctions, arguing that it is frivolous to

argue against me doing the same thing that Defendant often does to its customers.

          Defendant's “grind to a hault” argument is not the difference I requested.

        I asked for a difference. Defendant has failed to provide that. Defendant argues in part

“It could not be any other way: if subscribers could unilaterally change contract terms, service to

all subscribers would grind to a halt as Microsoft sorted through millions of contracts with terms

unique to each subscriber.”

        First of all, Defendant can claim claim claim, until the cows come home. However, as I

mentioned in my motion for judgment on the pleadings, Defendant holds the burden of proof.

Defendant has not proven that allowing consumers to engage in the same unilateral modification

practices that Defendant itself routinely engages in would cause commerce to “grind to a halt.”

Again, Defendant has claimed a lot, but has proven nothing.

        Secondly, this argument fails to provide the difference that I requested. Defendant fails

to acknowledge the fact that consumers are already (not merely at risk of being, but they already

are) each faced with scores, perhaps even hundreds, of consumer contracts, employment

contracts, and many other contracts, in which corporations just like Defendant routinely

unilaterally amend the terms of those contracts. These amendments are extremely burdensome

and time-consuming, and very very very few people actually have enough hours in the day to

painstakingly read them all, yet are still expected to do so, as a matter of law. Furthermore,

unlike Defendant, consumers do not have hundreds (if not thousands) of full-time employees

whose sole job description is to read and respond to issues such as this; they have to do it all

themselves.
            Case 2:11-cv-01362-JCC Document 28 Filed 11/15/11 Page 3 of 5




       Despite this, consumerism has not “ground to a halt,” like Defendant fears, despite

consumers often being subject to the exact same thing that is the central issue, here.

       Rather, it appears that Defendant's speculation (emphasis on that last word) that their

business would grind to a halt is similar, in terms of logical fallacy, as many of the arguments

that homophobic people make to justify the non-recognition of same-sex marriage. You know

the arguments I am talking about, right?

   •   Legalizing SSM would cause heterosexual divorce rates to skyrocket.

   •   It would cause a dramatic change in lifestyle.

   •   Churches would loose their tax-exempt status due to their refusal to perform same-sex

       marriages.

       And a variety of other ridiculous and speculative claims. These arguments are quite

fallacious due to the reams and reams of evidence of these consequences not happening in places

where same-sex marriage is legal (such as Massachusetts, Vermont, and Canada).

       Defendant's argument about commerce “grinding to a hault” is similarly fallacious, due to

the fact that consumers have had to put up with this for years, and consumerism has not “ground

to a halt;” rather, consumers just adapted to it, something Defendant does not deny being capable

of doing.

       Defendant's argument is made even more fallacious by the fact that Defendant either has,

or can easily afford, literally a small army of full time employees to do nothing but read and

respond to customer emails such as this one. Requiring customer service representatives to do

this would only require a small amount of additional on-the-job training.

       Besides, despite Defendant's claims, it would not be required to “sort through” millions of

contracts “unique” to each consumer. Given the fact that Defendant has total bargaining power,
          Case 2:11-cv-01362-JCC Document 28 Filed 11/15/11 Page 4 of 5




they can easily simply cancel without discrimination any Xbox Live accounts where the

consumer attempts to do this, without even bothering to read below the first paragraph, and

would enjoy virtual economic impunity, due to their bargaining power.

       Even if they wanted or were required to systematically sort through each of them, that

still does not help Defendant. Microsoft can also easily raise the funds they need by increasing

the cost of an Xbox Live subscription from $50 per year to $60 per year. At that point, it would

still be reasonably priced (the equivalent of a single Xbox 360 video game), but at 2 million

Xbox Live subscribers, would rake in an additional $20,000,000.00 in revenue, with which

Defendant can hire well over a thousand minimum wage-earning full time customer service

representatives to exactly this. In fact, I think the government would like that, as it would create

jobs, something the government itself seems pathetically incapable of doing.

       Of course, Defendant makes a net income of well over $23 billion per year (and that is

after all the taxes are paid), so raising the price should not even be necessary in the first place.

         It is illusory and unconscionable to allow Defendant, but not me, to do this.

       Defendant also argues that there is a difference between what I do and what Defendant

does because the original Xbox Live contract allows them to unilaterally amend the terms of

service, but does not extend this same courtesy to me. However, I have already addressed this

issue in my motion for judgment on the pleadings. Because Defendant has ignored this

argument, it is admitted by default under CR 7(b)(2). However, for the sake of reminding the

Court, here it is again:

        “       Even assuming that the Terms of Service granted Defendant the right to
        unilaterally modify the terms of service, for Defendant to argue that the contract
        does not extend that same right to me would be unconscionable.
        “       It is one thing for Microsoft to have sufficient bargaining power that they
        can reject with impunity any contract offers that I submit to them. However, to
        contractually forbid me from even attempting it in the first place, while still
         Case 2:11-cv-01362-JCC Document 28 Filed 11/15/11 Page 5 of 5




       reserving that right to them, is plainly unconscionable, and also causes the
       contract to lack mutuality of obligation. Therefore, a contractual obligation
       interpreted in such a way should not be enforceable as a matter of public policy.”

                                           Conclusion

       In conclusion, Defendant has failed the challenge that I gave to it: To actually cite a

difference between what I am doing and what Defendant and other similarly situated

corporations often do. The closest thing they came up with to any kind of difference has already

established as insufficient in my motion for judgment on the pleadings. Therefore, the motion

for sanctions should be granted.

                                                                        By /s/ David A. Stebbins
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